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U.S. Bank National Association, as Indenture Trustee obo and with Respect
to AJAX Mortgage Loan Trust 2016-2, Mortgage-Backed Notes, Series 2016-2
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                                    athompson@solomonlaw.com
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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

 IN RE:                                          CASE NO. 15-18584-RAM

 GLADIS P. AGUILAR,                              CHAPTER 13

 and

 MELVIN J. RODRIGUEZ,

                 Debtors.

                                     Certificate of Service

       I hereby certify that I am admitted to the bar of this Court. I further certify that the
foregoing NOTICE OF MORTGAGE PAYMENT CHANGE was served either by CM/ECF
transmission or standard first class mail on this 21st day of April 2020, to the following:

 Gladis P. Aguilar                               Melvin J. Rodriguez
 15321 N.W. 30th Ct.                             15321 N.W. 30th Ct.
 Opa Locka, FL 33054                             Opa Locka, FL 33054
 Debtor                                          Joint Debtor

 Ricardo Corona, Esq.                            Nancy K. Neidich
 3899 N.W. 7th St., Second Floor                 P.O. Box 279806
 Miami, FL 33126                                 Miramar, FL 33027
 Attorney for Debtors                            Trustee

 Office of the U.S. Trustee
 51 S.W. 1st Ave., Suite 1204
 Miami, FL 33130
 U.S. Trustee


                                                   /s/ Allison D. Thompson
                                                   Allison D. Thompson
                                                   Florida Bar No. 36981
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                                                   Attorneys for CREDITOR




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